Case 2:18-cv-03893-RGK-AGR Document 46-1 Filed 01/10/19 Page 1 of 7 Page ID #:295



  1   Mike Arias (CSB #115385)
        mike@asstlawyers.com
  2   Alfredo Torrijos (CSB #222458)
       alfredo@asstlawyers.com
  3   ARIAS SANGUINETTI WANG & TORRIJOS, LLP
      6701 Center Drive West, 14th Floor
  4   Los Angeles, California 90045
      Telephone: (310) 844-9696
  5   Facsimile: (310) 861-0168
  6   Steven L. Woodrow*
        swoodrow@woodrowpeluso.com
  7   Patrick H. Peluso*
        ppeluso@woodrowpeluso.com
  8   Taylor T. Smith*
        tsmith@woodrowpeluso.com
  9   WOODROW & PELUSO, LLC
      3900 East Mexico Avenue, Suite 300
 10   Denver, Colorado 80210
      Telephone: (720) 213-0675
 11   Facsimile: (303) 927-0809
 12   *Pro Hac Vice
 13   Attorneys for Plaintiff Edwardo Munoz
 14   and the Class and Subclass

 15                               UNITED STATES DISTRICT COURT
 16           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 17
       Edwardo Munoz, individually and on                   Case No. 2:18-cv-03893-RGK-AGR
 18
       behalf of all others similarly situated,
 19
                                         Plaintiff,
                                                            PLAINTIFF’S PROPOSED PLAN
 20
               v.                                           FOR DISSEMINATING THE CLASS
 21                                                         NOTICE
       7-Eleven, Inc., a Texas corporation,
 22                                                          Date: February 4, 2019
                                         Defendant.
 23                                                          Time: 9:00 a.m.
                                                             Judge: Hon. R. Gary Klausner
 24                                                          Courtroom: 850
                                                             Complaint Filed: May 15, 2018
 25
 26
 27
 28
      Plaintiff’s Proposed Notice Plan
                                                      -1-
Case 2:18-cv-03893-RGK-AGR Document 46-1 Filed 01/10/19 Page 2 of 7 Page ID #:296




  1   I.         Introduction
  2              On October 18, 2018, the Court granted certification under Federal Rule of
  3   Civil Procedure 23 to the following Class and Subclass:
  4
                 Disclosure Class: All persons in the United States who (1) from a date
  5
                 [two years] prior to the filing of the initial complaint in this action to the
  6
                 date notice is sent to the Disclosure Class; (2) applied for employment
  7
                 with Defendant; (3) about whom Defendant procured a consumer report;
  8
                 and (4) who were provided the same form FCRA disclosure and
  9
                 authorization as the disclosure and authorization form that Defendant
 10
                 provided to Plaintiff.
 11
 12              California Subclass: All members of the Disclosure Class who reside in

 13              California.

 14   (Dkt. 43.)
 15              Counsel for Plaintiff Munoz and the Classes has met and conferred with
 16   counsel for Defendant 7-Eleven and, after further conferral and consultation with
 17   proposed class action administrators, Plaintiff proposes the following plan for
 18   notifying the Classes.
 19
      II.        Proposed Notice Plan
 20
 21              Discovery has revealed that there are approximately 57,000 members of the

 22   Disclosure Class.1 7-Eleven has further indicated that it has addresses and telephone

 23   numbers for these individuals.

 24              As the Court is aware, due process requires that the Class be provided “the

 25   1
        7-Eleven has indicated it will produce contact information for all 57,000 class members to a
 26   third-party administrator approved by the Court. Class Counsel believe that the data should also be
      made available to Munoz’s attorneys for use in this lawsuit. The Parties have met and conferred
 27   regarding this dispute and will be bringing it to the Court’s attention via its established discovery
      dispute procedures.
 28
          Plaintiff’s Proposed Notice Plan         -2-
Case 2:18-cv-03893-RGK-AGR Document 46-1 Filed 01/10/19 Page 3 of 7 Page ID #:297




  1   best notice that is practicable under the circumstances, including individual notice to
  2   all members who can be identified through reasonable effort.” Fed. R. Civ. P.
  3   23(c)(2)(B); accord Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 173 (1974); Silber
  4   v. Mabon, 18 F.3d 1449, 1454 (9th Cir. 1994). Such safeguards ensure that notice to
  5   the class complies with both Rule 23 and the demands of due process. Rannis v.
  6   Recchia, 380 F. App’x 646, 650 (9th Cir. 2010). Adherence to these standards does
  7   not require that every individual class member receive actual notice—due process
  8   mandates only that the notice be “reasonably calculated under the circumstances to
  9   apprise [class members] of the pendency of the class action and give [them] a chance
 10   to be heard.” Ross v. Trex Co., Inc., No. 09-CV-00670, 2013 WL 791229, at *1
 11   (N.D. Cal. Mar. 4, 2013). A notice plan that reaches at least 70% of the class is
 12   reasonable. FEDERAL JUDICIAL CENTER, Judges’ Class Action Notice and Claims
 13   Process Checklist and Plain Language Guide 3 (2010).
 14            As for content, a class notice is satisfactory where it “generally describes the
 15   terms of the [case] in sufficient detail to alert those with adverse viewpoints to
 16   investigate and to come forward and be heard.” Mendoza v. Tucson Sch. Dist. No. 1,
 17   623 F.2d 1338, 1352 (9th Cir. 1980) disapproved of on other grounds by Evans v.
 18   Jeff D., 475 U.S. 717, 106 S. Ct. 1531, 89 L. Ed. 2d 747 (1986); see also Alba Conte
 19   & Herbert B. Newberg, Newberg on Class Actions § 11:53 at 167 (4th ed. 2002)
 20   (notice is “adequate if it may be understood by the average class member.”). The
 21   notice must set forth the nature of the action, define the class, identify the class
 22   claims and defenses at issue, and explain to class members that they may enter an
 23   appearance through counsel if so desired, that they may request exclusion, and that
 24   any judgment will be binding on all class members. See Fed. R. Civ. P. 23(c)(2)(B).
 25            Using these principles as a guide, Plaintiff proposes the following plan for
 26   notice, which includes direct mail notice, a settlement website, and notification by
 27   email.
 28
       Plaintiff’s Proposed Notice Plan         -3-
Case 2:18-cv-03893-RGK-AGR Document 46-1 Filed 01/10/19 Page 4 of 7 Page ID #:298




  1           A.      Direct mail notice
  2           In this case, because 7-Eleven has addresses for the Class members, notice via
  3   direct mail, following a search for any updated addresses, is most appropriate under
  4   the circumstances. Here, a postcard summary notice should be mailed to all 57,000
  5   class and subclass members. Proposed postcards are attached hereto as Group
  6   Exhibit A. The summary postcards generally describe the nature of the action and
  7   the claims together with the Class definitions. All other required information appears
  8   on the postcards as well.
  9           Plaintiff proposes that such direct mail notice be disseminated to the Class and
 10   subclass within sixty (60) days of an Order approving this notice plan. Plaintiff
 11   future proposes that members of the Class and subclass have 60 days from the date
 12   notice is dissimilated to request exclusion.
 13           B.      The Class Website
 14           The postcards represent just a summary, however. That is, each postcard also
 15   notifies the recipient to visit a website for the lawsuit (“Case Website”) where Class
 16   Members can access a traditional “long form” notice as well as other important
 17   information about the case, such as the deadline for opting-out of the lawsuit. The
 18   website will also host important case documents like the Order granting class
 19   certification and will provide contact information for Class Counsel. The Parties
 20   agree to meet-and-confer about the specific content of the Case Website before it
 21   goes live.
 22           C.      Email Notice
 23           In addition to the direct mail postcards and the Case Website, the Parties are
 24   meeting-and-conferring regarding the viability of transmitting the postcard notice via
 25   email in addition to U.S. mail to email addresses 7-Eleven may have collected with
 26   respect to Class Members.
 27           D.      Class Administrator
 28
       Plaintiff’s Proposed Notice Plan       -4-
Case 2:18-cv-03893-RGK-AGR Document 46-1 Filed 01/10/19 Page 5 of 7 Page ID #:299




  1           Plaintiff’s counsel received multiple bids for disseminating the proposed
  2   notice plan. Plaintiff’s counsel recommends that the Court appoint Kurtzman Carson
  3   Consultants, or KCC, for the position as Claims Administrator in this case. KCC has
  4   extensive experience administering class action cases and settlements and would
  5   serve competently here.
  6   III.    Conclusion
  7           The Class and Subclass consist of approximately 57,000 persons to whom
  8   direct mail notice should be sent. Combined with a Class Website and potential
  9   email notice, the proposed Notice Plan is calculated to apprise the Class Members of
 10   these proceedings and their rights, comports with due process, and should receive the
 11   Court’s approval.
 12
              WHEREFORE, the Plaintiff, Edwardo Munoz, respectfully requests that the
 13
      Court adopt the instant Notice Plan, require that notice be disseminated to the Class
 14
      and subclass within 60 days of its Order, and award such additional relief as it deems
 15
      necessary and just.
 16
 17
                                                Respectfully submitted,
 18
 19   Dated: January 10, 2018                   Edwardo Munoz, individually and on behalf
 20                                             of all others similarly situated,
 21
                                          By:    /s/ Patrick H. Peluso
 22                                             One of Plaintiff’s Attorneys
 23
                                                Mike Arias (CSB #115385)
 24                                               mike@asstlawyers.com
 25                                             Alfredo Torrijos (CSB #222458)
                                                 alfredo@asstlawyers.com
 26                                             ARIAS SANGUINETTI WANG &
 27                                                   TORRIJOS, LLP
                                                6701 Center Drive West, 14th Floor
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       Plaintiff’s Proposed Notice Plan         -5-
Case 2:18-cv-03893-RGK-AGR Document 46-1 Filed 01/10/19 Page 6 of 7 Page ID #:300




  1                                       Los Angeles, California 90045
                                          Telephone: (310) 844-9696
  2                                       Facsimile: (310) 861-0168
  3
                                          Steven L. Woodrow*
  4                                         swoodrow@woodrowpeluso.com
  5                                       Patrick H. Peluso*
                                            ppeluso@woodrowpeluso.com
  6                                       Taylor T. Smith*
  7                                         tsmith@woodrowpeluso.com
                                          WOODROW & PELUSO, LLC
  8                                       3900 East Mexico Avenue, Suite 300
  9                                       Denver, Colorado 80210
                                          Telephone: (720) 213-0675
 10                                       Facsimile: (303) 927-0809
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       Plaintiff’s Proposed Notice Plan   -6-
Case 2:18-cv-03893-RGK-AGR Document 46-1 Filed 01/10/19 Page 7 of 7 Page ID #:301




  1
                                          Certificate of Service
  2
              I hereby certify that, on the date indicated below, the foregoing document (and
  3
      any attachments or accompanying documents) was served via the Court’s electronic
  4
      filing system.
  5
  6
  7
      Dated: January 10, 2018                          /s/ Patrick H. Peluso
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       Plaintiff’s Proposed Notice Plan         -7-
